
PER CURIAM.
This cause is before us on Petition for Writ of Habeas Corpus asserting failure of respondent to properly compute a presumptive release date. Factual matters are asserted, and no record is provided. Petitioner has failed to exhaust administrative remedies. Houston v. Florida Parole and Probation Commission, 377 So.2d 34 (Fla.1st DCA 1979); Anderson v. Florida Probation and Parole Commission, 378 So.2d 861 (Fla.1st DCA 1979); Masher v. Wainwright, 378 So.2d 861 (Fla. 1st DCA 1979.) The petition is denied.
BOOTH, SHAW and WENTWORTH, JJ., concurring.
